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APPENDIX IV
TAB K
 

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Freeveirece syrihews Dover schools stil debating biology text A board member saki a book was rejected
because Ht edt offer creationigm B
Author. JOSEPH MALDONADO: For tie Daly RecondSunday Nowa p
ir
Article Tat: a
re
Former Dover school board member Rania Callahan fepeated her request for new bioiagy TH
® books for the high school al Monday nights bosrd macting. w
For the past few months, so has appeared several times before ine board bo request a
Halue Updates.
Ml
Board meander Wim Buckingham, who sis on the cumcuum committes, sald a book G
had been under consideration (Biology. by Miler and Levina} bul wes dacinad because
eo of ite one-sided references ie evciution. v
"Ws evoumebla 1 beck from 8 book thet says men descended from apes and monkeys,” c
he sak. We worl a book ihat gives balance to education,”
Buckinghan and ithe: board members are locking fora book thal leeches crealloniam
and eyvotution. :
® But a former student, Max Pall, told the board Monday aighl that he was concemed that
nat hype of book would trampte on the seperation of church and shale.
Board President Alan Bonsed disagreed, saying here were only two theories {ereatonism
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eo. ee cep rp we me ee Amt 2 Le
and avolullon} that could possibly be taught He said os long 2s both were laught 2s
theories, there would be no problems for the distict. [

“Have you aver heard of brainwashing?" Butkdngham aaked Poll. "it slants ate daughi
onhy avctition, t ctope becoming teary and becomes fact.” “3

Aer the reeling, Buckingham seid af he wants is a book that offers balance babyaen
what hea sald ane Christian views of creabeniam and evotuton.

He sak thare weed be consideration of tha ballets of Hindus, Goddhiets, Musiime oF other
faiths and views. "This country waar" founded on Muslim beliefs or evolution,” he said.
“This county was founded on Christianity, and cur students ehoukd be baught as euch.”

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